                   Case 2:22-cv-01555-BJR Document 16 Filed 12/06/22 Page 1 of 4




 1                                                                           The Honorable Barbara J. Rothstein

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 7                                       UNITED STATES DISTRICT COURT
 8                                      WESTERN DISTRICT OF WASHINGTON
                                                  AT SEATTLE
 9
     MARSHALL HORWITZ, DAVID LAYTON, Case No. 2:22-cv-01555-BJR
10   RICHARD JOHNSON, and a class of similarly
     situated individuals,                     PLAINTIFFS’ MOTION FOR RELIEF
11                                             FROM DEADLINE TO OPPOSE
                           Plaintiffs,         DEFENDANT’S MOTION TO DISMISS
12                                             UNTIL AFTER A DECISION ON
              v.                               PLAINTIFFS’ MOTION TO REMAND
13

14   UNIVERSITY OF WASHINGTON, an
     agency of the STATE OF WASHINGTON,
15
                                      Defendant.
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17
                                                                    MOTION
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               This action was brought by faculty and staff of the University of Washington (“the
19
     University”) to obtain certain benefits due under the University’s retirement plans, essentially the
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     loss of employer matches in some circumstances not permitted by the plans. Comp. at ¶¶8-35.
21
     Since the University is an agency of the State of Washington, this is a governmental plan subject
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     to Washington law, not ERISA or other federal law. Id. at ¶7; UW Mot. to Dismiss at 5, n. 6,
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     citing Navlet v. Port of Seattle, 164 Wn.2d 818, 831 (2008). The complaint asserts that the
24
     University violated its retirement plans, which are unilateral contracts governed by Washington
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     law. Comp. at ¶¶6-7.
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               Because both Plaintiffs and Defendant UW agree this is a contract action brought under
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     PL. MOTION FOR RELIEF FROM DEADLINE - 1                                      BENDICH, STOBAUGH & STRONG, P.C.
     2:22-cv-01555-BJR                                                                126 NW CANAL STREET, SUITE 100
                                                                                        SEATTLE, WASHINGTON 98107
     \Horwitz\Federal\Pldgs\Mot for Relief from Deadline 12-06-22                              (206) 622-3536
                   Case 2:22-cv-01555-BJR Document 16 Filed 12/06/22 Page 2 of 4




 1   Washington law, Comp. at 7, UW Notice of Removal at 3, UW Mot. to Dismiss at 5, Plaintiffs

 2   have moved to remand this case to King County Superior Court. There is therefore good cause

 3   to stay briefing and consideration of the University’s motion to dismiss until this Court has

 4   determined whether it has any jurisdiction to consider the motion.

 5             Good cause exists to stay briefing and consideration of the University’s motion to dismiss

 6   because “a court must have jurisdiction over a claim before it can dismiss it.” Peterson v.

 7   Kennewick, 2018 WL 6573155, at * 3 (W.D. Wash. 2018). This Court has explained that federal

 8   courts should first consider the question of jurisdiction to prevent the entry of orders that would

 9   be void for lack of jurisdiction (id. at *3):

10             “To avoid entering a default [or other] judgment that can be later successfully
               attacked as void, a court should determine whether it has the power, i.e., the
11             jurisdiction, to enter the judgment [or order] in the first place.” In re Tuli, 172
               F.3d 707, 712 (9th Cir. 1999); see also Fed. R. Civ. P. 12(h)(3) (“If the court
12
               determines at any time that it lacks subject-matter jurisdiction, the court must
13             dismiss the action.”). Indeed, a district court has an “affirmative duty to look into
               its jurisdiction over both the subject matter and the parties.” In re Tuli, 172 F.3d at
14             712.

15   In that action, the Court found that the case must remanded and denied pending motions by both

16   parties as moot because the Court lacked subject matter jurisdiction. Id. at *5.

17             Given that the Court will first consider the motion to remand in order to determine

18   whether it has jurisdiction to consider the University’s motion to dismiss, the Court should stay

19   briefing and consideration of the University’s motion to dismiss until the jurisdictional issue has

20   been resolved. In the alternative, if the Court wishes to set a certain date for the briefing of the

21   University’s motion to dismiss, Plaintiffs request that the deadline to respond to the University’s

22   motion to dismiss be extended to January 6, 2023.

23             Plaintiffs discussed their request to be relieved from the deadline to oppose the

24   Defendant’s motion to dismiss. The Defendant stated that it was not opposed to a reasonable

25   extension and would stipulate to an extension of time to respond to its motion to dismiss but did

26   oppose Plaintiffs’ request on the basis that Plaintiffs’ request would result in an indefinite

27   extension. See A. Strong [12/6/22] Dec.

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     \Horwitz\Federal\Pldgs\Mot for Relief from Deadline 12-06-22                       (206) 622-3536
                   Case 2:22-cv-01555-BJR Document 16 Filed 12/06/22 Page 3 of 4




 1             DATED this 6th day of December, 2022.

 2                                                                  Respectfully submitted,

 3                                                                  BENDICH, STOBAUGH & STRONG, P.C.

 4
                                                                     /s/ Alexander F. Strong
 5
                                                                    Alexander F. Strong, WSBA #49839
 6                                                                  126 NW Canal Street, Suite 100
                                                                    Seattle, Washington 98107
 7                                                                  (206) 622-3536
                                                                    Attorney for Plaintiffs
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     PL. MOTION FOR RELIEF FROM DEADLINE - 3                                       BENDICH, STOBAUGH & STRONG, P.C.
     2:22-cv-01555-BJR                                                                 126 NW CANAL STREET, SUITE 100
                                                                                         SEATTLE, WASHINGTON 98107
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              Case 2:22-cv-01555-BJR Document 16 Filed 12/06/22 Page 4 of 4




 1                                  DECLARATION OF SERVICE

 2           I, Anders Forsgaard, declare that I effected service of the following documents on the
     parties listed below through the CM/ECF system:
 3
        Document(s):
 4
           1. Plaintiffs’ Motion for Relief from Deadline to Oppose Defendant’s Motion to
 5            Dismiss Until After a Decision on Plaintiffs’ Motion to Remand
           2. Declaration of Alexander F. Strong
 6
        Parties:
 7          Sheehan Sullivan, WSBA #33189
            DAVIS WRIGHT TREMAINE LLP
 8          920 Fifth Avenue, Suite 3300
 9          Seattle, WA 98104
            206-622-3150
10          sheehansullivan@dwt.com

11          Amy Jane Longo (Pro Hac Vice)
            Daniel V. Ward (Pro Hac Vice)
12          Logan Hovie (Pro Hac Vice)
            Phillip Kraft (Pro Hac Vice)
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            ROPES & GRAY LLP
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            logan.hovie@ropesgray.com
17          phillip.kraft@ropesgray.com
18
            Attorneys for University of Washington
19
            I declare under penalty of perjury that the foregoing is true and correct.
20
            DATED this 6th day of December, 2022.
21

22
                                                       /s/ Anders Forsgaard
23                                                    Anders Forsgaard
                                                      aforsgaard@bs-s.com
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